        Case:24-01022-MER Doc#:28 Filed:04/26/24                                           Entered:04/26/24 22:15:32 Page1 of 3
                                                              United States Bankruptcy Court
                                                                   District of Colorado
Darjean,
      Plaintiff                                                                                                        Adv. Proc. No. 24-01022-MER
Sanders,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 1082-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Apr 24, 2024                                               Form ID: pdf904                                                            Total Noticed: 3
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Apr 26, 2024:
Recip ID                  Recipient Name and Address
aty                     + Andrew S Miller, Sweetbaum Miller, 1200 17th St., Ste. 1250, Denver, CO 80202 DENVER 80202-5856
aty                       Jeff Carruth, Weycer Kaplan Pulaski & Zuber P.C., 2608 Hibernia, Ste. 105, Dallas, TX 75204-2514
aty                     + Ori Raphael, Mathias Raphael PLLC, 13101 Preston Rd, Ste. 501, Dallas, TX 75240-5231

TOTAL: 3

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Apr 26, 2024                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on April 24, 2024 at the address(es) listed below:
Name                               Email Address
Alan Sweetbaum
                                   on behalf of Plaintiff John Darjean asweetbaum@sweetbaumlaw.com jstoller@sweetbaumsands.com

James Van Horn
                                   on behalf of Defendant Shilo Dion Sanders JVanHorn@btlaw.com

Jeffery Dayne Carruth
                                   on behalf of Plaintiff John Darjean jcarruth@wkpz.com
                                   jcarruth@aol.com;carruthjr87698@notify.bestcase.com;ATTY_CARRUTH@bluestylus.com

Keri L. Riley
                                   on behalf of Defendant Shilo Dion Sanders klr@kutnerlaw.com vlm@kutnerlaw.com

Ori Raphael
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District/off: 1082-1                                        User: admin                                      Page 2 of 2
Date Rcvd: Apr 24, 2024                                     Form ID: pdf904                                 Total Noticed: 3
                          on behalf of Plaintiff John Darjean ori@mr.law

Victor D Vital
                          on behalf of Defendant Shilo Dion Sanders victor.vital@btlaw.com


TOTAL: 6
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